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                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEVADA

UNITED STATES OF AMERICA,                                   )
                                                            )   3:08-cr-00006-LRH-RAM
                             Plaintiff,                     )
                                                            )   MINUTE ORDER
vs.                                                         )
                                                            )   July 5, 2011
DARIN JEROME FRENCH and JENNIFER                            )
LYNN FRENCH, aka JENNIFER THOMAS,                           )
                                                            )
                             Defendants.                    )
                                                            )

PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:                NONE APPEARING                 REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                              NONE APPEARING
COUNSEL FOR DEFENDANT(S):                              NONE APPEARING
MINUTE ORDER IN CHAMBERS:
       Before the court is Defendant Jennifer French’s Motion to Continue Sentencing Hearing
        1
(#324) . Good cause appearing,

       IT IS HEREBY ORDERED that Defendant Jennifer French’s Motion to Continue
Sentencing Hearing (#324) is GRANTED. The sentencing hearing shall be continued until
Thursday, August 18, 2011 at 1:30 pm.

      Also before the court is the Government’s Motion for Status Hearing (#323). IT IS
HEREBY ORDERED that the Government’s Motion for Status Hearing (#323) is DENIED as
moot.

            IT IS SO ORDERED.
                                                      LANCE S. WILSON, CLERK

                                                      By:        /s/
                                                                  Deputy Clerk


            1
                Refers to court’s docketing number.
